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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

        MIDDLE DISTRICT OF ALABAMA, EASTERN DIVISION




UNITED STATES OF AMERICA             )
                                     )
    v.                               ) CRIMINAL ACTION NO.
                                     )    3:94cr25-MHT
OSSIE O. McCAULEY, III               )        (WO)


                                 ORDER

    It is ORDERED that the motion to reconsider (doc. no.

1075) is denied.        While the court applied the factors set

out in 18 U.S.C. § 3553(a) to determine an appropriate

sentence within the guidelines, it is clear that United

States v. Booker, 543 U.S. 220 (2005), and Kimbrough v.

United States, 552 U.S. 85 (2007), do not apply to

sentence      reductions      made     pursuant      to    18     U.S.C.

§ 3582(c)(2).       See United States v. Melvin, 556 F.3d

1190, 1194 (11th Cir. 2009) (holding that “district court

erred    in   relying    on   Booker     and   Kimbrough    to    reduce

[defendant’s]     sentences”      below    guideline      range    in    a

§ 3582(c)(2) proceeding), cert. denied, ___ U.S. ___, 129
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S.Ct. 2382 (2009); see also United States v. Starks, 551

F.3d 839 (8th Cir. 2009); United States v. Dunphy, 551

F.3d 247 (4th Cir. 2009); United States v. Rhodes, 549

F.3d 833 (10th Cir. 2008).

    DONE, this the 7th day of July, 2009.

                              /s/ Myron H. Thompson
                           UNITED STATES DISTRICT JUDGE
